              Case 2:23-cr-00017-RAJ Document 17 Filed 02/17/23 Page 1 of 4




 1                                                                  The Hon. Richard A. Jones
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 7                          UNITED STATES DISTRICT COURT FOR THE
                              WESTERN DISTRICT OF WASHINGTON
 8                                      AT SEATTLE
 9
10   UNITED STATES OF AMERICA,                        NO. CR23-017-RAJ
11                          Plaintiff,
12                     v.                             FORFEITURE BILL
                                                      OF PARTICULARS
13 STEPHEN ALEXANDER BAIRD,
14                          Defendant.
15
16          In the Indictment filed on February 8, 2023, the United States gave notice of its
17 intent to seek forfeiture in this case pursuant to 18 U.S.C. § 981(a)(1)(C), by way of
18 28 U.S.C. § 2461(c), of any property constituting, or derived from, proceeds Defendant
19 obtained directly or indirectly as a result of the offense charged in Counts 1-10 of the
20 Indictment, including but not limited to, a sum of money in the amount of at least
21 $10,754,970.37, reflecting the proceed the Defendant obtained as result of the wire-fraud
22 scheme. Dkt. No. 3.
23          Now, pursuant to Fed. R. Crim. P. 7(f) and 32.2(a), the United States identifies the
24 following real property for forfeiture on the same bases. Upon conviction of any of the
25 offenses alleged in Counts 1-10, STEPHAN ALEXANDER BAIRD shall forfeit to the
26 United States, pursuant to pursuant to 18 U.S.C. § 981(a)(1)(C), by way of 28 U.S.C.
27 § 2461(c), any property constituting, or derived from, proceeds Defendant obtained
     Forfeiture Bill of Particulars - 1                                UNITED STATES ATTORNEY
     United States v. Baird, CR23-017-RAJ                             700 STEWART STREET, SUITE 5220
                                                                        SEATTLE, WASHINGTON 98101
                                                                              (206) 553-7970
                  Case 2:23-cr-00017-RAJ Document 17 Filed 02/17/23 Page 2 of 4




 1 directly or indirectly as a result of the offense. This property includes, but it not limited
 2 to:
 3           1.      The real property located at 10801 Northwest 43rd Street, Terrebone,
 4                   Oregon 97760, situated in Deschutes County, Oregon, Map/Taxlot Number
 5                   1412000000300, Tax Account Number 127572, titled in the name of Island
 6                   Family Limited Partnership, together with its buildings, improvements,
 7                   appurtenances, fixtures, attachments, and easements, and legally described
 8                   as follows:
 9
                     In Township Fourteen (14) South, Range Twelve (12), East of the
10                   Willamette Meridian, Deschutes County, Oregon:
11                   Section Twelve (12): The East Half of the Northeast Quarter (E1/2 NE1/4).
12
             Substitute Assets. In addition, if above-described forfeitable property, as a result
13
     of any act or omission of the defendant:
14
                     a.      cannot be located upon the exercise of due diligence;
15
                     b.      has been transferred or sold to, or deposited with, a third party;
16
                     c.      has been placed beyond the jurisdiction of the Court;
17
                     d.      has been substantially diminished in value; or,
18
                     e.      has been commingled with other property which cannot be
19
                             subdivided without difficulty,
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      Forfeiture Bill of Particulars - 2                                   UNITED STATES ATTORNEY
      United States v. Baird, CR23-017-RAJ                                700 STEWART STREET, SUITE 5220
                                                                            SEATTLE, WASHINGTON 98101
                                                                                  (206) 553-7970
               Case 2:23-cr-00017-RAJ Document 17 Filed 02/17/23 Page 3 of 4




 1 it is the intent of the United States, pursuant to 21 U.S.C. § 853(p), to seek the forfeiture
 2 of any other property of the defendants up to the value of the above-described forfeitable
 3 property.
 4          DATED this 17th day of February, 2023.
 5
 6                                             Respectfully submitted,
 7                                             NICHOLAS W. BROWN
                                               United States Attorney
 8
 9                                              s/Jehiel I. Baer
10                                             JEHIEL I. BAER
                                               Assistant United States Attorney
11                                             United States Attorney’s Office
                                               700 Stewart Street, Suite 5220
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                                               Seattle, WA 98101
13                                             (206) 553-2242
                                               Fax: 206-553-6934
14                                             Jehiel.Baer@usdoj.gov
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     Forfeiture Bill of Particulars - 3                                 UNITED STATES ATTORNEY
     United States v. Baird, CR23-017-RAJ                              700 STEWART STREET, SUITE 5220
                                                                         SEATTLE, WASHINGTON 98101
                                                                               (206) 553-7970
              Case 2:23-cr-00017-RAJ Document 17 Filed 02/17/23 Page 4 of 4




 1                                   CERTIFICATE OF SERVICE
 2
 3          I hereby certify that on February 17, 2023, I electronically filed the foregoing Bill
 4 of Particulars with the Clerk of the Court using the CM/ECF system, which sends notice
 5 of the filing to all ECF participants of record.
 6
 7                                             s/Hannah G. Williams
 8                                             HANNAH G. WILLIAMS
                                               FSA Paralegal III, Contractor
 9                                             United States Attorney’s Office
                                               700 Stewart Street, Suite 5220
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                                               Seattle, Washington 98101
11                                             Phone: 206-553-2242
                                               Fax: 206-553-6934
12                                             Hannah.Williams2@usdoj.gov
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     Forfeiture Bill of Particulars - 4                                 UNITED STATES ATTORNEY
     United States v. Baird, CR23-017-RAJ                              700 STEWART STREET, SUITE 5220
                                                                         SEATTLE, WASHINGTON 98101
                                                                               (206) 553-7970
